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12
                         UNITED STATES DISTRICT COURT
13
                                 DISTRICT OF NEVADA
14

15
       OTILDA LAMONT, Derivatively on           Case No.: 2:15-cv-481-RFB-VCF
16     Behalf of CANNAVEST CORP.,
17                 Plaintiff,
18     v.                                       STIPULATION TO EXTEND
                                                DEFENDANTS’ DEADLINE TO
19     MICHAEL MONA, JR., BART P.
                                                RESPOND TO PLAINTIFF’S
       MACKAY, and LARRY RASKIN,
20                                              THIRD AMENDED
                                                SHAREHOLDER DERIVATIVE
21                 Defendants,
                                                COMPLAINT
22
       and
                                                (FIRST REQUEST)
23
       CANNAVEST CORP.,
24

25                Nominal Defendant.
26

27

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     Case 2:15-cv-00481-RFB-VCF Document 91 Filed 12/28/20 Page 2 of 4




 1          Plaintiff Otlida Lamont (“Plaintiff”) and Defendants Michael Mona, Jr., Bart P.
 2 Mackay, Larry Raskin, and CV Sciences, Inc., formerly known as CannaVest Corp.

 3 (“Defendants”) stipulate as follows:

 4          On November 24, 2020, this Court denied Defendants’ Motion to Dismiss
 5 Plaintiffs’ Second Amended Complaint as to Defendants Mona and Mackay and

 6 granted the Motion as to Defendant Raskin. 1 ECF No. 84. The Court ordered Plaintiffs

 7 to file a third amended complaint within 21 days of the order to address the sole issue

 8 of Plaintiff’s standing as a shareholder. ECF No. 84. On December 11, 2020, Plaintiff
 9 filed the operative Third Amended Complaint (“TAC”). ECF No. 87.

10          Pursuant to Fed. R. Civ. P. 15(a)(3) and 6(a)(1), Defendants’ deadline to respond
11 to the TAC is December 28, 2020. Defendants have worked diligently to prepare an

12 answer to the TAC, but given the complexity of the allegations in the TAC and the

13 timing over the holiday season, the Parties have agreed to extend Defendants’ deadline

14 to file an answer until January 11, 2021.

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27     The Motion to Dismiss was denied without prejudice as to the issue of Plaintiff’s standing to bring
     a derivative lawsuit and denied with prejudice in all other respects. See ECF No. 84.
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     Case 2:15-cv-00481-RFB-VCF Document 91 Filed 12/28/20 Page 3 of 4




 1         Therefore, the Parties hereby stipulate to extend Defendants’ deadline to
 2 respond to the TAC until January 11, 2021.

 3

 4 Dated: December 28, 2020

 5
      MATTHEW L. SHARP, LTD.               PROCOPIO, CORY,
 6                                         HARGREAVES & SAVITCH, LLP
 7

 8    By: /s/ Thomas J. McKenna        By: /s/ S. Todd Neal
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21         Counsel for PLAINTIFFS               Counsel for Defendants
                                                MICHAEL MONA, JR., BART P.
22                                              MACKAY, LARRY RASKIN, and
                                                CANNAVEST CORP.
23

24
                 IT IS SO ORDERED.
25

26               ________________________________
                 United States Magistrate Judge
27
                             28th day of December, 2020.
                 Dated this ____
28

                                            2
     Case 2:15-cv-00481-RFB-VCF Document 91 Filed 12/28/20 Page 4 of 4




 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on December 28, 2020, I electronically transmitted the
 3 foregoing document using the CM/ECF system for filing, which will transmit the

 4 document electronically to all registered participants as identified on the Notice of

 5 Electronic Filing. Paper copies have been or promptly will be served personally on all

 6 parties not registered, and those indicated as non-registered participants.

 7
                                                   /s/ S. Todd Neal
 8                                                 S. Todd Neal
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